                        UNITED STATES DISTRICT COURT FOR THE
                        WESTERN DISTRICT OF NORTH CAROLINA
                                 CHARLOTTE DIVISION

                                    DOCKET NO. 3:11cr373-FDW

UNITED STATES OF AMERICA,                             )
                                                      )
                       Plaintiff,                     )
                                                      )       PRELIMINARY ORDER
       v.                                             )         OF FORFEITURE
                                                      )
(7) ZAFER RAMADAN KAFOZI,                             )
                                                      )
                       Defendant.                     )

       In the Bill of Indictment in this case, the United States sought forfeiture of property of the

Defendant as property that was used or intended to be used to facilitate the crimes charged,

which would be subject to forfeiture under 21 U.S.C. § 853.

       Defendant entered into a plea agreement; subsequently pled guilty to Count One in the

Bill of Indictment; and was adjudged guilty of the offenses charged in those counts. In the plea

agreement and in a separate consent document Defendant has agreed to forfeiture of specific real

property as described below,

       It is therefore ORDERED:

       1.      Based upon Defendant’s plea of guilty, the United States is authorized to seize the

following property belonging to Defendant, and it is hereby forfeited to the United States for

disposition according to law, provided, however, that such forfeiture is subject to any and all

third party claims and interests, pending final adjudication herein:

       A money judgment in the amount of $340,000, which represents the amount of
       proceeds obtained, directly and indirectly from the offenses alleged in the Bill of
       Information and reasonably foreseeable to the defendant;

       Approximately $80,000 in United States funds received from the defendant on or
       about February 15, 2012,




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       One 2011 Mercedes passenger S550 VIN # WDDNG7BB8BA364212, registered in
       the name of Racha Issam Alhawach; and

       Real property located at 6016 Twickingham Court, Charlotte, North Carolina.

       2.      Pursuant to 21 U.S.C. § 853(n)(1), the government shall publish notice of this

order; notice of its intent to dispose of the property in such manner as the Attorney General may

direct; and notice that any person, other than the Defendant, having or claiming a legal interest in

any of the above-listed forfeited property must file a petition with the Court within thirty days of

the final publication of notice or of receipt of actual notice, whichever is earlier. This notice shall

state that the petition shall be for a hearing to adjudicate the validity of the petitioner’s alleged

interest in the property, shall be signed by the petitioner under penalty of perjury, and shall set

forth the nature and extent of the petitioner’s right, title or interest in each of the forfeited

properties and any additional facts supporting the petitioner’s claim and the relief sought. The

United States may also, to the extent practicable, provide direct written notice to any person

known to have alleged an interest in property that is the subject of this Order of Forfeiture, as a

substitute for published notice as to those persons so notified.

       3.      Upon adjudication of all third-party interests, this Court will enter a Final Order

of Forfeiture pursuant to 21 U.S.C. § 853(n).

                                                 Signed: June 10, 2013




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